                      Case 1:21-mj-00311-RMM Document 1 Filed 03/16/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                           )
                              v.                                      )
           MATTHEW EUGENE LOGANBILL
                                                                      )      Case No.
                DOB: XX-XX-XXXX                                       )
                                                                      )
                                                                      )
                                                                      )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021                 in the county of                              in the
                       District of           Columbia             , the defendant(s) violated:

            Code Section                                                        Offense Description
18 U.S.C. §1512(c)(2)                           -Obstruction of a Congressional Proceeding

18 U.S.C. §§ 1752(a)(1) and (a)(2)              -Unlawful Entry

18 U.S.C. § 2(a)                                -Aiding and Abetting

40 U.S.C. §§ 5104(e)(2)(D) and                  - Violent Entry or Disorderly Conduct
40 U.S.C. §§ 5104(e)(2)(G)

         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                                 Complainant’s signature

                                                                                          Michael Brown, Special Agent
                                                                                                  Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 

Date:             03/16/2021
                                                                                                    Judge’s signature

City and state:                         Washington, D.C.                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                  Printed name and title
